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                      IN THE IOWA DISTRJCT COURT FOR SCOTT COUNTY
 STATE OF IOWA,
       Plaintiff,                                           Criminal No. FECR404167
 vs.
 ANTONIO WARFIELD,                                          PLEA OF GUJLTY TO COUNTS 4 & 5
        Defendant.                                      Plea after 7/ 1S/20 for crimes committed before 7/ 1S/20




        I, Antonio Warfield, state to the Court that I am charged with:
Assault causing injury Counts 4 & 5, code §: 708.2(2) a serious misdemeanor;
and I now wish to plead guilty to this these charges.
I. I have discussed my guilty plea with my attorney; I am satisfied with the services of my
attorney; and I have been advised and understand that by pleading guilty I am giving up the
following rights:

   A. The right to a speedy and public jury trial on this (these) charge(s).
   8 . The right to ask questions of the State's witnesses, the right to subpoena or call my own
       witnesses to testify on my behalf, and the right to take depositions.
   C. The right to have my attorney with me throughout the entire trial, if I cannot afford
         an attorney, The Court would appoint one for me at State expense. If I receive a
        court-appointed attorney, I understand I may be ordered to repay the State for my
        attorney fees .
   D. The right to have my case decided by a jury of 12 people whose verdict would have to
        be unanimous.
   E. The right to require lhe State to prove my guilt beyond a reasonable doubt.
   F. The right to testify on my own behalf or refuse to testify. If I chose not to testify, the
county attorney would not be allowed to say anything about that fact in front of the jury.

2. By pleading guilty, I am asking the Court to accept my guilty plea. 1 am admitting there is a
factual basis for the charge(s), and I admit at the time and place charged in the Trial Information
I did assault Tishae and Teoni lhgold and caused bodily injury to them.
3. I accept the minutes of testimony as substantially true as to the elements of these charges,
with the exclusion of the following statements: I accept as to factual basis in paragraph 2
4. __A plea agreement in my case exists as evidenced by a memorandum of plea agreement
which I have signed. I understand any plea agreement is not binding on the Court and unless
the judge's acceptance of my plea is contingent upon acceptance of the plea agreement, I know
the judge may sentence me up to the maximum penalties provided by law.

5. 1 understand that on a plea of guilty to:

  ~     A serious misdemeanor, the Court can sentence me to jail for up to one year, and fine
me between $315.00 and $1875.00


GOVERNMENT
  EXHIBIT                                                        Picas after 7/1S/20 for crimes committed before 7/15120


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6. If I (Ill) pleading guilty to more than one charge, I understand Ofe juage cim run each sentence
consecutive or concurrent to any other. The sentence for a charge of escape or absence from
custody under §719.4 or for a crime committed while confined in a detention facility or penal
institution shall begin at the end of any existing sentence. My attorney has explained
consecutive and concurrent to me.

&:2_1 understand I will be required to pay a I 5% crime services surcharge on all fines that are
 not suspended.

Mr       I am convicted of a criminal offense, the county sheriff may charge me for the actual
administrative costs relating to my arrest and booking; for room and board provided to me while
in the custody of the county sheriff; and for any medical aid provided to me under Iowa Code
§356.5. This issue will not be resolved as part ofmy sentence. Jfthe sheriff wishes to charge
me for these costs, the sheriff will file a separate civil action seeking reimbursement.

~        ased on my reasonable ability to pay, I may be required to pay Category 8 restitution
 which includes contribution of funds to a local anticrime organization which provided
assistance to law enforcement in an offender's case; payment of crime victim compensation
reimbursements; payment of restitution to public agencies pursuant to §32IJ.2(13)(b); court
costs; court-appointed attorney fees ordered pursuant to §815.9, including the expense ofa
public defender; and payment to the medical assistance program pursuant to Iowa Code Chapter
249A for expenditures paid on behalf of the victim resulting from the offender' s criminal
activities including investigative costs incurred by the Medicaid fraud control unit pursuant to
 §249A.50.

~       I am presumed to have the reasonable ability to pay Category B restitution. I have the
 right to request a hearing where a judge will determine whether I have the reasonable ability to
 pay all of the Category B restitution. I must request a hearing to determine my reasonable
 ability to pay at the time of sentencing or within 30 days after the Court issues a permanent
 restitution order. Failure to do so waives all future claims regarding reasonable ability to pay
 except as provided in Iowa Code §910.7. At the hearing, I will have the burden of proving by a
 preponderance of the evidence that I am unable to reasonably make payments toward the full
 amount of Category B restitution. If! contest my ability to reasonably make payments toward
 the full amount of Category 8 restitution, I must furnish the prosecutor and sentencing court
 with a completed financial affidavit that will be filed of record in all criminal cases for which I
 owe restitution. Failure to furnish a completed affidavit waives any claim concerning my
 reasonable ability to pay Category B restitution. At the hearing, the judge, the prosecutor, and
 my attorney will get to question me concerning my reasonable ability to pay. If the Court
 determines I am not reasonably able to pay all or part of Category B restitution, the Court may
 require me to perform community service in lieu of that portion of Category B restitution for
 which I am not reasonably able to pay.

 7. Omitted

 8. If granted probation, I understand as a condition ofmy probation I am to fulfill all terms as



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 set forth by the Sentencing Order. If I fail to do so, the suspended sentence could be imposed
or I may be found in contempt.ofcourt which may be punished by up to 6 monthsinTairiirid a
fine of up to $500.00.

9. !fl claim there are any irregularities or defects in these plea proceedings, I must file a
Motion in Arrest of Judgment not later than 45 days after this plea of guilty and not later than
five days before the day of sentencing. Failure to do so will preclude my right to assert any
defects in this plea in any appeal.

I 0. lfl am not a United States Citizen, I understand a criminal conviction, deferred judgment, or
a deferred sentence may result in my deportation or have other adverse immigration
consequences under federal immigration laws. I have had the opportunity to discuss this with
my attorney and consulate.

11. If I am on parole or probation, I understand this plea of guilty may be grounds for
revocation. I have discussed this with my attorney and probation or parole officer and I wish to
plead guilty.

No one has made any promises or inducements to make me plead guilty, nor has anyone
threatened me to cause me to plead guilty. My decision to plead guilty is voluntary and
intelligently made. I am not under the influence of any drug, medication or alcohol that would
 hurt my ability to make decisions.

I understand I must pay all court ordered fines, civil penalties, restitution, surcharges, court
costs, and jail fees in full . If I am granted probation, this will be a condition of my probation.

~ I expressly waive my right to be present and participate in an in-court plea colloquy, and
I waive my right to have a verbatim record of these proceedings.

~ I expressly waive my right to be personally present and address the Court at the time of
sentencing. I agree the Court may impose sentence without my being present. I understand I
 have a right of allocution, which allows me to address the Court personally and make a
 statement in mitigation of my punishment in this case. I understand if I am represented by
counsel in this case, my attorney may address the Court on my behalf and make a statement in
mitigation of my punishment in this case. I waive the right to have a verbatim record of the
sentencing procedures.

~ I am waiving my right to file a Motion in Arrest of Judgment as described in #9 above,
my right to wait 15 days for my sentencing and I wish to be sentenced today. I know of no legal
cause why judgment should not be entered and there are no pending motions.

~~      I authorize the Court to make a determination as to my reasonable ability to pay
Category B restitution based solely on my financial affidavit. I waive my right to be heard on
 the issue. I understand the Court may hold a hearing on this issue anyway at the request of the
prosecutor.




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Defendant is advised that by pleading guilty no right to appeal exists and that an application for
permission to appeal may only be granted upon a showing of good cause pursuant to Iowa Code
section 814.6(1)(a)(3). If Defendant wishes to appeal, Defendant must file a notice of appeal
with the Clerk of the District Court within 30 days of the date the disposition order is entered in
this case. If Defendant fails to file a notice of appeal before the deadline expires,
Defendant will lose any opportunity to appeal the disposition order in this case.


I STA TE TO THE COURT I FULLY UNDERSTAND ALL OF MY FOREGOING RIGHTS;
 I GIVE UP THOSE RIGHTS; AND I ENTER MY PLEA OF GUILTY TO THE CHARGES


~ ~M
Defendant
                                                                                                    Date




Address   A
I, ~ ( ' . ; '    M~        £L( ( [)..             ,  a regular practicing attorney at law, as an officer of
the Court, state that I represent the ~bove-named defendant, I have advised the defendant of all his/her
legal rights; I have advised the defendant of the consequences of signing this document; and I have
answered all questions regarding the plea of guilty. I further state that, to the best of my knowledge and
belief, this plea is knowingly, voluntarily, and intelligently made by the defendant and there is a factual
 basis for the charge.

Signature of Attome ' >           ~
                                    ~

                                                                                   Date:    r- }~- '2 /




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